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 4

 5 Attorney for Defendant
   EVA MARTINEZ
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 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                  CASE NO. 2:07-CR-00234 TLN
12                                          Plaintiff,          STIPULATION REGARDING
                                                                CONTINUANCE OF ADMIT OR
13   v.                                                         DENY HEARING; FINDINGS AND
                                                                ORDER
14   EVA MARTINEZ,
15                                          Defendant.
16

17             Defendant, EVA MARTINEZ, by and through her counsel of record, TONI WHITE, and the

18 GOVERNMENT hereby stipulate as follows:

19             1.        By previous order, this matter was set for admit or deny hearing on July 28, 2016.

20             2.        By this stipulation, defendant now moves to continue the admit or deny hearing until

21 August 4, 2016. Because we are scheduled for an admit/deny hearing, no time exclusion is

22 necessary. Ms. Martinez, through counsel, waives any due process claim that could otherwise arise

23 from the delay and is, in fact, requesting this additional time for her counsel to be prepared. The

24 GOVERNMENT does not oppose this request.

25             3.        The parties agree and stipulate, and request that the Court find the following:

26                       a.        A psychological examination of Ms. Martinez has been completed. The report

27 was recently presented to Defense counsel and more time is needed to review it with Ms. Martinez.

28 Defense counsel needs more time to prepare the case prior to an admit or deny hearing.
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          Stipulation and [Proposed] Order for Continuance of
          Status Hearing and for Exclusion of Time
 1                    b.        Counsel for defendant believes that failure to grant the above-requested

 2 continuance would deny her the reasonable time necessary for effective preparation, taking into

 3 account the exercise of due diligence.

 4                    c.        The GOVERNMENT does not object to the continuance.

 5                    d.        The GOVERNMENT and counsel for the defendant are working toward

 6 resolution of the case.

 7          IT IS SO STIPULATED.

 8          Dated: July 26, 2016                                       BENJAMIN B. WAGNER
                                                                       United States Attorney
 9
                                                                       By:    /s/ Toni White for
10
                                                                       TIMOTHY DELGADO
11                                                                     Assistant U.S. Attorney

12                                                                     For the United States
13          Dated: July 26, 2016                             By:       /s/ Toni White _
                                                                       TONI WHITE
14                                                                     For the Defendant Eva Martinez
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17                                                           ORDER
18          IT IS SO FOUND AND ORDERED this 26th day of July, 2016.
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21          _______________________________
22          HON. TROY L. NUNLEY
23          UNITED STATES DISTRICT JUDGE
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       Stipulation and [Proposed] Order for Continuance of
       Status Hearing and for Exclusion of Time
